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 AO93     (Rev. 11/13) Search SJJd Seizure Warr8JJI


            FILED                                    UNITED STATES DISTRIC Co
          JAN 26 2021                                                                           for the
        U. S. D,STRICT COUR1i                                                 Eastern District of Mis·souri             (Highly Sensitive Document)
           t. DIST. OF MQ.
              ST. LOUIS
                    In the Matter of the Search of                                                )
                 (Briefly describe the property to be searched                                    )
                  or identify the person by name and addYess)                                     )       CaseNo.    4:21 MJ 1001 JMB
                                                                                                  )
        A cellular device using cellular phone number
                                                                                                  )                                            D6t.~oL
                                                                                                  )

                                                             SEARCH AND SEIZURE WARRANT
 To :       Any authorized law enforcement officer
          An application by a federal law enf~rcement officer or an attorney for th_e,g~v:rn_m.entr~q¥;S~~ ~1,cLERK ·
 of the following person or property located in the         EASTERN              D1stnct ~f , J ,., { ')F~~i                                                  ~Ri-GiNAL
 (identify the person or describe tlreproperty to be searched and give it.s location):                              \ 1 ,, ,_,   · ::-)   .='Tl.TFS DTSTRICT COURT
        A cellular device using cellular phone numbe                                                                r- ~~                  •   i)l';:'"r-jf!E:LOF MISSOURI
                                                                                                                    , .               •    ~ DEPUTY CLERK
         I find that the affidavit(s), or any recorded testimony, establish probable cause to search and.seize the person or property
 described above, and that such search will reveal {identify the person or describe the property to be seized):

                                                                SEE ATTACHMENT A




          YOU ARE COM:MANDED to execute this warrant on or before                 February 9, 2021        (not to exceed 14 days)
        0 in the daytime 6:00 a.m. to 10:00 p.m. Qf at any time in the day or night because good cause has been established.

        Un.less delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and·receipt at the place where the
property was taken.               ·
         The officer executing',.this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as r equired by law and promptly return this warrant and inventory to                  Honorable John M. Bodenhausen
                                                                                                                         {Uniled Stal.es Magistrate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate b~)
     0 for         days (not to exceed 30) 0 until, the facts justifying, the


Date and time issued:             H¥,
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                                                                                         _
                                                                                                                                          Judge's signature

City and state:                St. Louis, MO                                                               onorable John M. Bodenhausen, U.S. Magistrate Judge
                                                                                                                                  · Printed name and title
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,,,   -
      -
                                                  ATTACHMENT A


                                            ITEMS TO BE SEARCHED


                 The following materials, in any format or medium, which constitute evidence,

          instrumentaJities, and fruits of the criminal violations of 18 U.S.C. §666, §1341, §1343, §1346,

          and §1951 and involve John Collins-Muhammad, and others from                          through the

          time of the execution of this warrant that may be deemed instrumentalities, fruits, or evidence of

          the aforementioned crimes to include:

                 1.      The cellular telephone, that being an Apple iPhone 7, serial number

                              with associated phone number                         1e Device)

                 2.      For the Device, all records and information to include:

                         a.      Call Logs showing numbers called and received, to include deleted logs;

                         b.      Evidence of user attribution showing who used or owned the Device at the

                 time the things described in this warrant were created, edited, or deleted, such as logs,

                 phonebooks, saved usemames and passwords, documents, and browsing history;

                        c.       Internet browsing history, including records of Internet Protocol addresses

                 used; records of Internet activity, including firewall logs, caches, browser history and

                 cookies, "bookmarked" or "favorite" web pages, search terms that the µser entered into

                 any Internet search engine, and records of user-typed web addresses.

                        d.      Photographs, videos, and other forms of media documenting the events

                that are the subject of this warrant.

                        e.      Any and al] contact lists, address books, in whatever form regarding

                coconspirator contact information, to include deleted information.

                        f.      all bank records, checks, credit card bills, account information, and other

                financial records.
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               g.     Text message records, including the content of messages as well as any

        logs showing text messages sent and received, to include deleted information

               h.     Any and all documents, notes, and records, including e-mail

       correspondence in whatever form, including digital, relating to the matters set forth in the

       attached Affidavit, to include deleted information

               1.     Any and all documents, notes, and records relating to the ownership and

       usage of the cell phone being searched

              J.      Any and all contact lists, address books, in whatever form regarding

       coconspirator contact information, to include deleted information

   3. As used above, the terms "records" and "information" include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.




                                                2
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                                              UNITED STATE!,~CISTRICT
                      ~N 2 6 2021
                                                                   Eastern District of Missouri
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                 In the¼JtPc~ ifthc Search of                                       )
            t Brht~,- ,!.?scribe ilw property 1u be s<·ar.-hi!d                     )
             or identify the person by ,u1111c a11d address)                        )          Case No. 4:21 MJ 1001 JMB
A cellular device using cellular phone number                                       )
                                                                                    )
                                                                                    )


                                                     APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penally of perjury that I have reason to believe that on the following person or property (ide11tifj• the fh!rsun or desaibe the
 prop<'rf)· to be s£'arched and gfre ils locmion):

   A cellular device using cellular phone number -                                      ·

 located in the                EASTERN                   District of                MISSOURI                    . there is now concealed 1ide111(/j· th~


                                                                 SEE ATTACHMENT A
                                                                                                                        ~-:::-.              LH\ L..:-J...R~S.   CLER;:{
            The basis for the search under Fed. R. Crim. P. 4 1(c) is (d,,:ck one or more):
                                                                                                                    l
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                                                                                                                       rthL, ,_,:.; r 1 op THE ORiGINAL
                 .J . .              . .                                                                           : 1J'ED ,;TATES DISTRICT COURT
                    !!J   evidence of a cnme,                                                                    CA..S'i 2r J LJTST-1ICT OF MI     ·
                    Mcontraband, fruits of crime, or other items illegally possessed;                            Br:/h:L                       SSOURI
                    FA property designed for use. intended for use. or used in committing a crime:                                                   DEPUTY CLERK
                    rJ a person to be arrested or a person who is unlawfully restrained.
            The search is related to ii violation of:
                Code Section                                                                   O.Oeme Description
         18 U.S.C. Section 666(a)(1)(A)                      Theft or bribery concerning programs receiving Federal funds
         18 U.S.C. Section 1951                              Hobbs Act
         18 U.S.C. Sections 1341 and 1343                    Mail and Wire Fraud
         18 U.S.C. Section 1346                              Honest Services Fraud

           The application is based on these facts:
         SEE ATTACHED AFFIDAVIT WHICH IS INCORPORATED HEREIN BY REFERENCE

            rJf Continued on the attached sheet.
            0    Delayed notice of _ _ days (give exact ending date if more than 30 days:                                                      ) is requested
                 under 18 U.S.C. § 3 103a, the basis of which is set forth on the attached sheeL-
                                                             1 state under the penal                                                                          r-ccL




Sworn to, attested to, or affirm ed before me via r·eliable elect.ro
Procedure 4.J and 41.

Dalt':    _j / v'1        &     Vj_

City mid state: ~t. Louis~o                                                                 able J~hn M. Bodenhause!l ~S. M~gistrate Judge
                                                                                                            Prim.-d /lOlllt' 11111/ tit/,·                -
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                                  IN THE UNITED STATES DISTRICT COURT

CRSC'-n·-rv J. LINHARES, CLERK
A Ti1u']:.n
                                 FOR THE EASTERN DISTRICT OF MISSOURI


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         JAN 2 6 2021
                                    AFFIDAVJT IN SUPPORT OF AN
      U. S. DISTRICT COURli     APPLICATION FOR A SEARCH WARRANT
         E. DIST. OF Mo·
            ST. LOUIS ·•·
                 I, Special Agent                  , being first duly sworn, hereby depose and state as

       follows:

                              INTRODUCTION AND AGENT BACKGROUND

                 1.     I make this affidavit in support of an application for a search warrant to search

      instrumentalities and evidence of violations of Title 18 U.S.C. §§ 666(a)(l)(A), 195 1, 1341, 1343,

       1346, and 2 formerly belonging to John Collins-Muhammad (JCM), Alderman, St. Louis City,

      Missouri. The item that is the subject of the search applied for is an Apple iPhone 7 Plus, serial

      number                        with associated phone numbe                           previously operated by

      JCM (The Device) for the purpose of searching for evidence of violations of Title 18 U.S.C. §§

      666(a)(l)(A), 1951, 1341, 1343, 1346, and 2 related to the providing of official action in exchange

      for the acceptance of cash bribes and other benefits and things of value for personal enrichment.

      There is probable cause to believe that evidence of these violations will be found on the cellular

      telephone (The Device) identified in Attachment A.

                2.      I am a Special Agent with the Federal Bureau of Investigation (FBI), and have been

      so employed since 2002. I am presently assigned to the Public Corruption squad in the St. Louis

      Division of the FBI. My responsibilities include the investigation of federal crimes to include

      violations of Title 18 United States Code (U.S.C.) § 666 (Theft or bribery concerning programs

      receiving Federal funds),§ 1346 (Honest Services Fraud),§ 1341 (Mail Fraud) and§ 1343 (Wire

      Fraud) and §1951 (Hobbs Act). I received over eighteen weeks of specialized law enforcement
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 training at the FBI Academy in Quantico, Virginia. My experience obtained as a Special Agent of

 the FBI has included investigations of multiple violations of federal criminal public corruption

 laws. I know cellular telephones are commonly used by politiciains to communicate with donors,

 constituents, and employees. Cellular telephones enable a politioeian to communicate during the

 day when they are not at an office location, which is common with this type of work. Cellular

telephones also enable the user to quick.1y send text messages and emails to other people when

they are unable to take the time to make a phone call, but the sender needs to quickly convey their

message.

        3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is suffi~ient probable cause for the requested wan-ant and does not set

forth all of my knowledge about this matter.

       4.       Based on my training and experience and the facts ats set forth in this affidavit, there

is probable cause to believe that violations of 18 U.S .C. §§ 6616 (TI1eft or bribery concerning

programs receiving federal funds), 1341 (Mail Fraud), 1343 (Wire Fraud), 1346 (Honest Services

Fraud), and 1951 (Hobbs Act) have been committed by John Collli□ s-Muhammad, St. Louis City

Alderman. There is also probable cause to believe that The Device identified in Attachment A

contains evidence of these crimes and contraband or fruits of these crimes, as described in

Attachment A.

                                       PROBABLE CAUSE

       5.       The FBI opened an investigation of St. Louis City 21st Ward Alderman John

Collins-Muhammad (JCM) on - - Confidential Hwnan Source l (CHS l) owns

businesses in JCM's St. Louis Ward. JCM has solicited and accepted cash bribes and other benefits

and things of value from CHS I since                   in exchange for official action as a St. Louis

Alderman. JCM has talked with CHS 1 about other City Aldermen who will accept bribes for their
                                                  2
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'official action. JCM arranged a meeting with -

 and CHS I. The meeting involved discussion of the
                                                       -
                                                                             ---
                                                                     assisting CHS 1 in obtaining

-        government contracts in exchange for money (campaign contributions or otheiwise). JCM

also facilitated meetings for CHS 1 to meet with two otber City Aldermen, both of whom accepted

cash bribes from CHS 1 in exchange for their official action.

        6.     CHS 1 has provided significant information and evidence to support the

establishment of probable cause in this affidavit.     The majority of CHS 1's infom1ation is

corroborated by audio and video recordings, as well as text messages, email, and other documents.

CHS 1 is currently Wlder federal indictment on charges of trafficking contraband cigarettes,

trafficking synthetic drugs, and money laundering. HSI investigated that case and CHS 1 was

charged in the Eastern District of Missouri during 2017. In addition to potential imprisonment and

fines, CHS 1 is facing potential deportation as a result of those pending charges. In approximately

                 CHS 1 began providing information to the FBI about corrupt public officials in

St. Louis City and County, including but not limited to JCM. CHS 1 is cooperating with the FBI

and the United States Attorney's Office for potential consideration on his/her pending charges and

also to expose politicians who prey on CHS 1 as an immigrant business owner.




                                        aud have deemed CHS 1 to be credible and reliable, with

the vast majority of CHS 1's information corroborated with audio and video recordings, text

messages, email, and other documents.



                                                3
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            7.       During the course of the investigation, JCM has used his cellular telephone,

-                The Device, to conduct criminal activity. On or about January 16, 2020, CHS 1 called

    JCM on The Device to arrange a meeting. As a result of that call, on January 18, 2020, JCM came

    to one of CHS 1's businesses. During their meeting, CHS 1 stated, "If you could help it would be

    phenomenal." JCM replied, "Tell me what you need. " CHS 1 then asked JCM for his assistance

    and official action in obtaining liquor licenses and property tax abatements for CHS 1's businesses

    in JCM's and other St. Louis City Wards. JCM told CIIS, "I can take care of you inmy Ward."

    JCM made other assurances to CHS 1 that he could assist with a property tax abatement for bis/her

    business over a ten-year period by submitting an Aldermanic letter of support, which was

necessary to receive such an abatement. JCM also told CHS 1 if the abatement approval was

taking too long, JCM would help move it along. JCM told CHS 1 the annual property taxes on the

property were approximately $17,000. This meeting was recorded.

           8.       On or about January 20, 2020, JCM sent a text message from The Device to CHS

1 stating, in part, "I got your letter of approval for tax abatement."

           9.       On January 21, 2020, JCM brought the tax abatement forms and his official

Aldermanic letter of support to CHS 1. JCM provided the name of the St. Louis City employee

who CHS l was to submit the completed forms to. Also during this meeting, CHS 1 told JCM the

savings related to this property tax abatement amounted to approximately $130,000 over 10 years.

This meeting was recorded.

           10.      On January 24, 2020, JCM texted CHS 1 from The Device, "What time ,x.rill you be

at station?" in order to set up a meeting. JCM then met later that same day with CHS 1 to discuss

the status of the tax abatement paperwork. During this meeting, JCM discussed other similar deals

he could assist CHS 1 with, including introducing CHS 1 to another City Alderman in a different

Ward,                       where CHS 1 owned and operated a business. At the end of this meeting,



                                                    4
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·cHS 1 asked JCM, "What do I owe you for this?" JCM stated, "25". JCM stated he would return

 at 4:00 pm that day to collect the money. This meeting was recorded.

        11.     JCM returned to CHS 1's store at approximately 4:00 pm on January 24, 2020.

 During their meeting, CHS 1 gave JCM $2,500 cash which the FBI had previously provided CHS

 1. JCM immediately placed the cash bribe into his front-right jacket pocket. CHS 1 thanked JCM

for his help on obtaining the property tax abatement, to which JCM replied, "That's our job. That's

the job for an Alderman." This meeting was recorded.

        12.    On January 31, 2020, JCM met with CHS 1 and during the meeting, CHS 1 gave

JCM a check payable to St. Louis City for the administrative charges related to the property tax

abatement application. JCM told CHS J tbe paperwork CHS 1 gave JCM looked good and the

approval would take about one week. JCM told CHS 1, once approved by the City, the property

would receive favorable tax abatement treatment from 2021-2030.

        13 .   The tax abatement process for CHS l 's business has taken longer than expected

due to COVID-19 delays with St. Louis City administration. JCM assisted CHS 1 with getting the

development project approved by the St. Louis Development Corporation's Land Clearance for

Redevelopment Authority (LCRA). During a November 30, 2020 text message exchange betvveen

CHS I and JCM on The Device, CHS 1 told JCM that an employee from the LCRA said the

property tax abatement was not ready yet. JCM responded fue same day via text message from

The Device, "Call him again! It's done! ", then, "I had to pass a board bill authorizing it. I did.

It's passed completely". According to the Board of Aldermen website, as of January 14, 2021, the

tax abatement has been introduced by JCM to the Board .of Aldermen as Board Bill I 08, where it

is awaiting final passage and signature by the Mayor.

       14.     Dw-ing the same above-referenced January 31, 2020 meeting, CHS 1 asked JCM

how CHS 1 should approach Alderman                         in order to get a similar prope1ty tax

abatement for a prope1ty owned by CHS                       Ward. During that discussion, JCM
                                                5
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described how CHS l should make the [bribe) payment to                - using an inteuuediary. JCM

told CHS 1 to bring                            assistant, in to "do some bullshit consulting" . ICM

first suggested CHS 1 pay $5,000 for the "consulting" in exchange for the property tax abatement

support letter. Later, during the same conversation, JCM suggested paying $3,000 to           JCM

explained           needed the money, stating she bad not paid her own personal property taxes.

JCM then assured CHS l that JCM previously told                "We're good," which was understood

to mean both Aldermen, JCM and               and CHS 1 were all on the same p age regarcling the

payment and acceptance of illegal bribes in exchange for official action. JCM told CHS 1 that

          "does business under the table". Later that same day, CHS 1 met with             and they

discussed            rovicling CHS 1 with his Aldermanic letter of support for a tax abatement on

CHS 1's property in               ard. At the end of the meeting CHS 1 offered         $2,000 cash.

          told CHS 1 to make the payment to his assistant,                      CHS 1 immediately

traveled to meet           where, as         had directed, he gave          the $2,000 cash. These

funds had previously been provided to CHS 1 by the FBI for this purpose. These meetings were

recorded.

          15.   During March 2020, CHS 1 began talking to JCM about meeting

      in order to g ·                         support in obtaining           government contracts.

During a March 2, 2020 meeting JCM told CHS 1 that                              supported a planned

project that CHS 1 was interested in developing in another Alderperson's Ward. Later in that same

meeting, CHS 1 asked JCM if he/she should bring money when he meets

advised at that time to talk to              first. It is known to your Affiant that

a St. Louis atiomey,                                                 and an individual who remains

very close to the                 This meeting was recorded.

          16.   On May 12, 2020 JCM and CHS 1 inet. During the meeting JCM explained the

control                       has over the awarding of            government contracts relative to
                                                 6
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'c onstruction work on the                                                                  eing built

                             This meeting was recorded.

        17.     On June 17, 2020, JCM texted CHS 1 from The Device, "Meet me at 5:0

(SIC)/5:00/Pick me up from my house/2042 E. Fair", to which CHS 1 responded, " Ok". During

the subsequent meeting, JCM said he has known                               since 2010. CHS I a]so

infonned JCM that he had a construction business that he was trying to get the WBE (Women's

Business Enterprise) certification completed for and asked if JCM could help ·with the certification.

JCM told CHS 1 that he could assist CHS 1 and that he knew someone who worked at the state

office which handles the Missouri WBE certification process. JCM informed CHS I that if he

wanted a contract relative to the                     construction site worth millions of dollars,

                    was the one to provide those contracts. During the meeting, CHS 1 suggested

                              for help with small, municipal matters which CHS 1 has been unable to

resolve. JCM told CHS 1 that                          does not get involved in those types of matters.

JCM stated                        gets involved in matters that make him money and things that make

sense to him. Early in the meeting, JCM said he would text

at that time. ICM stated attorney

introduced JCM to

real job is taking care of                                                               would likely

                 Approximately one hour and eighteen minutes into JCM and CHS I 's meeting,

                    called The Device. JCM put                          on speaker phone. JCM and

                    conversed for approximately three minutes during which time

     did not know CHS 1 was listening.                             asked JCM "what you got?" and

stated he                           had seen JCM's note.     Affiant believes

immediate reference to the "note" during the call is evidence that JCM did in fact send a text

message from The Device to                            while in the company of CHS J. JCM told
                                                  7
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                      he had a business owner [CHS 1) who did a lot of business in JCM's ward and

                                                  he business owner [CHS I] wanted an opportunity

to meet                        and to contribute to his campaign in a '"major way".

     responded by telling JCM that be was coming to St. Louis on

      suggested they meet.                       agreed to meet CHS 1 and JCM at one of CHS 1' s

businesses in St. Louis.                     stated he planned to come straight to the business upon

arrival in St. Louis at which time he could "get the check." This meeting and speakerphone

conversation were recorded. The 3 minute 39 second telephone call between JCM and the

                 was also captured on a court ordered pen register, previously placed on The Device,

consistent with the time and duration of CHS l 's meeting with JCM.

           18.   Following JCM's call with                      CHS 1 asked JCM if CHS 1 should

throw                       "something" [money] . JCM replied, "Fuck yea, you should throw him

something." CHS 1 said, "Hub?", to which JCM stated, "Yea, you should throw him something.. .if

you don't throw him something, he'll never come back."           CHS 1 asked if he should give

                       $10,000 and JCM said that amount was good. JCM told CHS 1 that

                      would probably have a security detail with him, but the detail knew to step

                                  was about to conduct "business". CHS 1 said he/she would give

money to JCM for arranging the meeting with                           JCM also agreed to split any

profit CHS 1 earned from any contract secured through                          JCM stated it was a

big deal                      was going to come directly to CHS I, rather than having them meet in

a different location. The June 17, 2020 meeting with JCM was recorded.

         19.     On June 18, 2020, JCM texted CHS 1 from The Device that

        is on his way to the station. Me too." Shortly thereafter, CHS 1 and JCM met with

                     and a male, later identified by CHS 1 as
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                                                                                   It is believed th.at

                                                                                      The group initially

    stood in a high-traffic area within the gas station/convenience store, and then JCM, CHS 1, and

                         moved to a small office in the back of the store. CHS I described the nature

    of his/her various businesses to                        indicated that he/she m~ed a construction

    company capable of hauling materials, and expressed an interest in obtaining an

    construction site contract. CHS 1 stated that JCM and CHS I were "partners," but JCM could not

    "have his name on here" to which                         eplied, "that's ok ... as long as I am helping

    John [JCM], that ain't no problem."                            directed JCM to reach out to

-              an employee in                            office who works on business liaison matters.

                                            name on a business card and provided it to JCM and directed

    JCM to contact              n Tuesday (Juae23 ,2020). As                         handed the business

    card to JCM, CHS 1 gave                             an envelope containing $10,000 in cash. This
                                                                     .,
$10,000 had been provided to CHS I by the FBI for this purpose.

me?" and placed the envelope in his pocket. CHS 1 stated, "Please

replied, "AJright. .. man I usually take checks." CHS I told

king."                         ooked up to the ceiling and said, "you know you got cameras and shit. 11

After CHS 1 as~ured                            that there were no cameras in the office,
                     ,
        and CHS I discussed how many businesses CHS I owned.                                asked how he

should communicate with CHS I going forward. CHS 1 told

CHS I were partners and they agreed they could communicate with one another through

JCM. CHS 1 stated that "John is my brother."                              told CHS I_, "If it's anything

other than that, it ain't gonna be good."                       concluded the office meeting by saying

to the CHS I , we are "going to get to know each other." This meeting was recorded.



                                                    9
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          20.       After                    left the gas station in a vehicle driven by        CHS 1 and

 JCM returned to 1he office of the gas station where CHS 1 prud JCM $3 ,000 cash for arranging the

 meeting and helping the CHS 1 to obtain contracts through ■                               This $3,000 had

 been provided to CHS 1 by the FBI for this purpose.               CHS 1 told JCM that he/she gave

                        $10,000 to which JCM responded, "good". This meeting was recorded.

          21.       Shortly thereafter,                    returned to the gas station in -       vehicle.

■ exited his car, entered the station, and summoned JCM to the vehicle. After speaking briefly

 with                        at the vehicle, JCM returned to 1he gas :station ,vith the envelope of cash.

                                                believed too many people knew him in the store and

 someone possibly followed him. JCM returned 1he envelope of e;ash to CHS J and instructed CHS

 1 to instead write checks to                        CHS 1 stated he/she did not want to \vrite checks

to                            JCM repeatedly stated this was a "test" and that

supported CHS 1, so CHS 1 should not fail the test. JCM stated, "I know he takes cash for a fact,"

but, "It's his first time dealing with you." In the presence of CHS 1, JCM then spoke with

                        on The Device. JCM placed The Device on speaker and

was heard saying " ..                                                               The pen register on

The Device captured the 54 second call on June 18, 2020 with                                   phone at a

time and duration consistent with CHS 1 's consensual monitoring.              Affiant believes JCM's

e>.."Planation of                         ncems about his first meeting with CHS 1, along with CHS

l's observation of                           concern about surveillance cameras, led

        o return the cash. Affiant further believes                          as other people in place,

including                    who can take cash on behalf of                       while insulating him

from directly receiving such payments. After the calJ, JCM directed CHS I to write two checks

for $5,000 each to                                   hich is the                                    CHS

I reiterated to JCM that he/she did not want his/her name attached to any money given to
                                                   10
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                        JCM assured the CHS 1 that    a as                          'fake business" and

 the money would go "straight to his                             ocket" and "nobody ever knows, it1s

 a fake consulting firm." JCM directed CHS 1 to date the checks differently. This meeting was

 recorded. CHS 1 subsequently wrote two checks dated "06-18-2020" and "06-25-2020" made

 payable to -         or $5,000 each.

        22.     At JCM's direction, CHS 1 obtained the checks for

 picked JCM up at his house. At JCM's direction, CHS 1 drove JCM to the                         owned

 by                   in north St. Louis City. JCM held 1he two checks as they left the vehicle. JCM

and CHS 1 met with               outside the Lounge. During the meeting,               ked if JCM and

the CHS 1 were going to meet-with                            After telling         · e meeting already

happened,                  "He told me you all had a meeting." JCM gave the two checks to

on behalf of CH S 1. CHS 1 and JCM drove back to JCM's house. As they drove, JCM told CHS

1 be sent a text to                     on The Device saying, "Done", to inform

the checks were given t~                JCM showed CHS I a text response on The Device from

                        o JCM. CHS 1, while looking at The Device, read aloud, " You're the best",

with the emojee of the yellow smiley face with black sunglasses.             Affiant believes this text

exchange is significant because it showed that while                           as cautious with CHS 1

by returning the cash,                      provided positive feedback to JCM for finding someone

who can and will pay bribes. The meeting ended with JCM telling CHS 1 to get the company

paperwork to JCM so be could get CHS 1 the minority business enterprise (MBE) or women's

business enterprise (WBE) certification for CHS 's company, which JCM believed was integral to

obtaining contracts through                             The June 18, 2020 meetings v.~th JCM,

                                    ere recorded. The pen register did not capture the text exchange

                                  d JCM as they were believed to be Apple iMessage, which are not

captured by The Device service provider.
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        23.    On June 22, 2020, CHS 1 sent a text message to JCM on The Device suggesting



telling the CHS 1, "Not until the certification is done," which Affiant knows to be a reference to

the WBE certification discussed on June 18, 2020.

       24.     On June 24, 2020, at approximately 1:30 p.m. utilizing The Device, JCM sent a text

message to CHS 1, ''Need that paper work and need to rap with you. We got something for you.

A contract"

       25.     On June 25, 2020, CHS 1 and JCM met During the meeting, JCM told CHS 1 the

contract was for a project at th                                 "                   knows about it

He asked me to look into it That's something that we've been doing all day, actually." JCM told

CHS 1 he saw                         recently at                       ffice on

                   JCM advised that they are planning to do a big renovation of the

they need WBE companies to do it, "and be                              aid to make sure you are tied

into it." They then discussed the importance of getting the WBE certification. This meeting was

recorded.

       26.     On June 27, 2020, JCM sent a series of text messages utilizing The Device to CHS

1, telling CHS 1 where he was and, "The Boss has another ask of you tooffalked with him earlier" .

CHS 1 responded by text, "Should I come over to you or meet at different place", to which JCM

replied, "Come". At the in person meeting at a St. Louis, Missouri restaurant, CHS 1 told JCM

the person who they were using as the woman ovvner of the putported WBE business does not even

know about the company and CHS 1 signed the woman's name on the original corporate

paperwork. JCM said that was fine. JCM then explained the City ownership of the                along

with the federal oversight                 which gives both JCM and

the approval of a contract for CHS 1. JCM told CHS 1, "He's asking for cash." When asked who

was asking, JCM said, '            he wants $2,500 . .. He just told me to ask... He asked for cash."
                                                   12
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 'CHS 1 asked why                           anted cash now after he asked for checks the last time.

 JCM told CHS 1 that                         usts the CHS 1. CHS 1 asked when

 asked for the money and JCM said it was on Wednesday [June 24, 2020]. This meeting with JCM

 was recorded.

        27.      On June 29, 2020, CHS 1 met with JCM in the vicinity of JCM's house in St Louis,

 Missouri. JCM helped CHS 1 in filling out the WBE and MBE certification paperwork. CHS 1

 again advised JCM that the woman named on the WBE paperwork was not actually involved in

 the business. JCM stated that was fine   as long as her name was on the paperwork.   JCM told CHS

 1 he bad an inside source in the Missouri state government who would help streamline the WBE

 application. As directed by JCM, CHS 1 provided $2,500 cash to JCM which was intended for

                     in exchange for his efforts at helping CHS 1 obtain the discussed contracts.

The FBI had provided this $2,500 to CHS 1 for this purpose. JCM told CHS 1 that he would give

the money to                                                . JCM concluded the meeting by saying

"I got you. You got me and you got                        ' The meeting was recorded.

        28.      Beginning July 1, 2020, and on several days thereafter, JCM told CHS 1 the steps

to take to get the WBE/MBE paperwork completed. On July 1, 2020, JCM sent CHS l a text

message utilizing The Device :instructing CHS 1 to leave the notarized documents in JCM's home

mailbox. Instead, CHS 1 elected to wait to deliver the documents in person. During their meeting

later that day, JCM stated he planned to fax the paperwork that night. CHS 1 asked if it was

possible to receive a "small contract" while they waited for the WBE/MBE certification to be

completed. CHS 1 told JCM that CHS 1 would "split all the profits between me, you, and

JCM concluded the meeting by stating, '           will call me either tonight or tomorrow and I will

just ask him, can we just get like a small contract now." ICM told CHS 1, "I got you," and "I will

let you know what's available" and JCM will "see what kind ofoptions he gives me." This meeting

was i-ecorded.
                                              ·   13
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          29.   When JCM submitted the notarized WBE application to the State of Missouri's

 Office    of   Equal   Opportunity    (OEO),        JCM   used   his   personaJ   email   account

                                   s the email of record for correspondence from the state. Multiple

 emails have been exchanged between OEO and JCM, and some of these emails h ave been

 forwarded to CHS 1 by JCM utilizing The bevice. Dming an October 7, 2020 telephone call

 between CHS 1 and an OEO employee, JCM, utilizing The Device, was added to the conference

 call. During this call, JCM provided information to OEO about CHS l's WBE and JCM instructed

the OEO employee to send information to his email account,                                      On

October 7, 2020,        an employee at OEO sent an email to JCM stating, "Please complete, sign,

date and return to OEO. Thanks." JCM then forwarded that email to CHS 1 utilizing The Device.

JCM instructed CHS 1 to sign bis/her spouse's name - knowing they were unaware of the business.

After obtaining an illegitimate notary stamp from a St. Louis County official wbo CHS 1 was

b1ibing for unrelated benefits, CHS J sent the notarized documents to JCM on October 23, 2020.

OEO did not accept these documents because of the location of the signatures and notary stamp,

.so CHS 1 was again instructed on October 26, 2020 by JCM over text message from The Device

to "Sign the document and email it back to me/Sign your wife' s name." The notarized application

was finally accepted by OEO and then it was forwarded for review and approval. During this

review, OEO scheduled an "on-site" review [done over telephone due to COVID-19], during

which they highlighted various concerns they had with the WBE application. One of the issues

they discussed with CHS 1 was having his/her alderman assisting in the certification process.

Several minutes into the telephone call, JCM, utilizing The Device, joined the conference call and

attempted to alleviate OEO 's concerns. CHS l 's spouse could have participated in the call, but

their lack of knowledge about the business would have become obvious. JCM suggested CHS I

lie to OEO, by telling OEO the spouse did not speak English, so CHS 1 would have to speak on



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 their behalf and/or translate for him/her. As of the date of this application, a decision from OEO

 on the \VBE certification bas not been received.

        30.     While attempting to obtain WBE certification for CHS l 's business, JCM has

discussed two different large contracts for CHS 1. Both plans have progressed slowly, so CHS 1

has suggested moving one along when the other slows. The                  contract was the original

plan for                      o assist CHS 1, with JCM and CHS 1 splitting the profits. However,

shortly after the June 18, 2020 meeting, JCM began discussing the

project with CHS l. In the seven months since this June meeting, JCM h as offered some assistance

to CHS l in contacting one of the large construction companies managing the

JCM provided CHS 1 the nam                  d contact information for the small business contractor

for the company.

        31.    On July 15, 2020, CHS 1 and JCM met to discuss the                  contract and to

complete additional papeIWork for the WBE certification. JCM stated he planned to fill out the

majority of the WBE paperwork for CHS 1. JCM stated the              demolition contract for CHS

1 would most likely be ready in four weeks. JCM estimated the project would pay $8 million, but

would only cost CHS 1 $3 million to complete. This meeting was recorded.

       32.     Toe day afte

1 met with JCM to discuss     e way orwar .         to

they had to move faster regarding contracts because of

                                 contract was already secured, but JCM was worried about future

contracts because                                                                       JCM told

CHS 1 that despite                                                                      ecause he

is gom1a push this through." After CHS 1 told JCM that he was willing to pay

once they started their contract in order to show their loyalty, JCM told CHS 1 that they would



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    ·always have to show loyalty to                           because                       could ''stop

    whatever we want to do!' This meeting was recorded.

            33.      On August 26, 2020, CHS 1 met with JCM to discuss the            contract. JCM told

    CHS 1 the contract for the             emolition should start in late Septerpber 2020 and was worth

    $7.3 million. JCM told CHS 1 that                          sent a "letter of consent" to the

                              indicating                     wanted CHS 1's business to be selected for

    the -         contract. JCM stated CHS 1 will have to pay                          "2" after CHS 1

    receives the first check. JCM then clarified CHS 1 will need to pay                       $200,000.

    When CHS 1 asked JCM about p aying                           with a check, JCM stated "it cannot be

    checks" and "he                         knows that." This meeting was recorded.

            34.     On September 15, 2020, JCM told CHS 1 that the            contract was delayed, but

it would most likely start in late September or early October 2020. JCM told CHS 1 that, as a

member of the St Louis Board of Aldermen Transportation Committee, he was able to select one

of the contractors so he selected CHS 1 's company. This meeting was recorded.

            35.     On November 25, 2020, having not received a contract, CHS I sent a text to JCM

utilizing TI,e Device asking to meet with                           o they might get a contract at

•           On November 30, 2020, JCM resp~nded via text message utilizing The Device, "Yes we

can. But we need to finish everything with the                   efore we have him focus on something

else. One thing at a time. So we make sure we moving right! I will handle                     You have

my cell number. What did she ask you ro (SIC) do?" CHS 1 sent the small business application

he had previously received from                by text message to JCM. On Novem ber 30, 2020 JCM

instructed CHS I by text message to, "Get this filled out and get it back to her. I will deal with

her./Email it to me. And I will do it.                                           ' ICM completed the

paperwork for CHS 1 and delivered it to him in person, with instructions to scan and email it

dfrectly to

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        36.     On December 19, 2020, CHS 1 sent a text message to JCM stating: "My trucks

 ready to roll please Jet's work". Shortly after that, JCM sent a text message to CHS 1 requesting

 a donation to JCM's reelection campaign. On December 20, 2020, CHS 1 received a text message

 from JCM's campaign to arrange for "faster donations". CHS 1 gave JCM $ 1,000 on that date.

 On December 21, 2020, JCM sent CHS 1 a series of text messages, including one "I have

 papeiwork for you to sign." JCM then met with CHS 1 and showed CHS 1 three pages that JCM

 said were CHS 1's          contract. A review of these records by your affiant identified the date

 on these records as December 2019, for a roof replacement project on

                                         at a cost substantially lower than the $27 million project

described earlier by JCM. In the presence of CHS 1, utilizing The Device, JCM forwarded CHS

 1 these plans from JCM's personal email,

        3 7.   On December 27, 2020, JCM came to CHS' store. JCM told CHS 1 about problems

with The Device. CHS 1 has an employee who handles mobile telephones, including selling and

repairing mobile phones. CHS 1 asked JCM if he wanted a new phone since he was having

problems with bis existing one. CHS 1 told JCM the telephone employee needed to back up The

Device to the employee's Apple Mac computer in order to push the data to the new phone, which

JCM consented to. The employee successfully transferred the data from The Device to the new

Apple iPhone 11 provided to JCM. Approximately one hour later, JCM left the store with his new

phone and he left The Device with the store employee, who gave it to CHS 1. JCM did not offer

to pay, nor was he asked to pay, for the new iPhone 11 . Your affiant seized The Device as evidence

on December 28, 2020 and is requesting the Court' s authority to search the device for evidence of

criminal activity by JCM.

       38.     As of the date of this application, according to CHS 1, the two $5,000 checks made

payable to                                  have not been deposited, for reasons unknown to your

Affiant or CHS l .

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         39..    All text messages referenced in this affidavit between CHS 1 and The Device were

 provided to the Affiant from CHS 1 taking an individuaJ "screenshot" of the text message directly

 from CHS l's phone. CHS 1 has never communicated with JCM by call or text message on any

 other telephone than The Device. CHS 1 is not aware of JCM owning or using any phone other

than The Device until turning it over to CHS 1 in ex.change for the new phone.

        40.      The FBI has debriefed additional people with knowledge of the individuals

discussed throughout this affidavit and reviewed bank records of other likely victims. Their

accounts of demands for cash in exchange for official action by JCM are consistent with CHS l's

account.

        41.     Court ordered Pen Registers on The Device, up to the current date, reveal that JCM

has regular telephone conve~sations and text messaging with a number of other politicians in St.

Louis, some of whom have previously accepted bribes from CHS I . The Pen Registers also show

caJl and text message activity with business owners in JCM's ward who have complained about

JCM demanding money while threatening to close their businesses.

        42.     On March 18, 2020 your affiant received a federal search warrant in the Eastern

District of Missouri to search JCM's Apple account. The Apple iCloud bac~p is an option

selected by a user and is not automatic. The JCM iCloud search warrant return contained text

messages for two distinct timeframes: April 2019/May 2019 and December 2019/January 2020,

with no content outside these dates. A search of the actual phone will likely provide significantly

more information than what was obtained th.rough the iCloud warrant. Although limited in scope,

the search warrant return from JCM's iCioud account contained text messages that were pertinent

to the investigation.

                a.      A text message exchange between JCM and an individual identified as

                     on December 10, 2019.               ked JCM, "What do you want me to tell

       ol boy?" JCM replied, "Are ya'll cool?" [JCM used similar language about being "cool"
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        with CHS 1 during ~e January 24, 2020 bribe payment from CHS 1 to JCM]

        replied, "Like my brother" and "He's just a piece of work". JCM replied , "$700".

                b.     On January 13, 2020, JCM sent a text message to                       which

        read, "Thank you Big Brother! Im (SIC) expecting around 200 residents! I'm gone (SIC)

        pack the room for ya!" The text message contained a picture of a townhall flyer that read,




                            responded by text message to JCM less than 30 minutes later, stating,

        "Very good it will be my first time at the rec center. Looking forward to it."

        43.     Based on my training and experience, I know that text messages sent between JCM

and others, as well as email communications, are likely stored on The Device used by JCM.

                                  TECHNICAL CONSIDERATIONS

        44.    Based on my knowledge, training, and experience, as well as the experience of

agents and investigators with specialized training involving cellular telephones and digital

evidence, T know the following information concerning electronic devices: cellular telephones

have capabilities that allow them to serve as a wireless telephone, digital camera, portable media

player, GPS navigation device, and PDA. In my training and experience, examining data stored

on devices of this type can uncover, among other things, evidence that reveals or suggests who

possessed or used the device. Phones create and keep log files associated with calls and text

messages sent from and received by the device.         I know that electronic devices can store

information for long periods of time. Similarly, things that have been viewed via the Internet are

typically stored for lengthy periods of time on the device. This info1mation can sometimes be

recovered with forensics tools.

       45_     The FBI employs personnel with specialized knowledge, training and experience

relating to com1)uter and digital evidence, including evidence located on cell phones. Based on m y
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'knowledge, training and expen ence, and the knowledge, training and expenence of law

enforcement personnel involved in computer and digital forensics, I am aware of the following

factors and considerations that may be pertinent:

               a.      Wireless telephone: A wireless telephone (or mobile telephone, or cellular

       telephone) is a handheld wireless device used for voice and data communication through

       radio signals. These telephones send signals through networks of transmitter/receivers,

       enabling communication with other wireless telephones or traditional "land line"

       telephones. A wireless telephone usually contains a "call log," which records the telephone

       number, date, and time of calls made to and from the phone. In addition to enabling voice

       communications, wireless telephones offer a broad range of capabilities. These capabilities

       include: storing names and phone numbers in electronic "address books;" sending,

       receiving, and storing text messages and e-mail; taking, sending, receiving, and storing still

      photographs and moving video; storing and playing back audio files; storing dates,

      appointments, and other information on personal calendars; and accessing and

      downloading information from the Internet. Wireless telephones may also include global

      positioning system ("GPS") technology for determining the location of the device.

             · b.     In addition to enabling voice communications, wireless telephones now

      offer a broad range of capabilities. These capabilities include, but are not limited to: storing

      names and phone numbers in electronic "address books;" sending, receiving, and storing

      text messages and email; taking, sending, receiving, and storing still photographs and

      moving video; st01ing and playing back audio files; storing dates, appointments, and other

      information on personal calendars; and accessing and downloading information from the

      Internet. Wireless telephones may also include global positioning system ("GPS")

      technology for determining the location of the device.



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                  c.      Electronic devices, such as wireless telephones, can store information for

           long periods of time. This information can sometimes be recovered from the device using

           forensic examination tools.


           46.    This application seeks perrrussion to locate not only electronically stored

 information that might serve as direct evidence of the crimes described herein, but aJso forensic

 evidence that establishes how the cell phone was used, the purpose of its use, who used it, and

 when. There is probable cause to believe that this forensic electronic evidence might be on The

 Device, to include the text messages listed above and other related messages. Cellular telephones

 typically keep log files of calls and messages received and made from the device. These log files

 include the phone numbers called and received. The log files can stay on the device for Jong periods

of time.

        47.      Forensic evidence on a wireless -telephone can aJso indicate who has used or

controlled the wireless telephone. This "user attribution" evidence is analogous to the search for

" indicia of occupancy" while executing a search warrant at a residence. Specifically, there is

reason to believe, based on the way that data is stored on wireless telephones, that the incriminating

text messages and contact history identified from the Pen Register data and cooperating witnesses

described. above related to John Collins-Muhammad will aJso be contained on Collins-

Muhammad's cellular telephone itself.

        48.      Additionally, based on my training and experience, I know that those who have

committed crimes often delete incriminating evidence from their cellular telephones.

        49.      Based on my knowledge, training, and experience, as well as the experience of

agents and investigators with speciaJized training involving cellular telephones and digital

evidence, I know the following information concerning electronic devices: an iPhone is a h.igh-

end cellular telephone that combines the function of a personal digital assistant and a mobile phone.


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·This includes the ability to comrmmicate with other cellular telephones by using a text-messaging

feature, email, or an Internet-based instant messaging application. Most cellular telephones also

have the ability to connect to the Internet via Wi-Fi and mobile broadband access. I know from

my training and experience that cellular telephones, including smartphones, are capable of storing

large amounts of data, including call histories (showing the date, time, and destination/origin

phone number dialed), emails, and message content of texts placed/received.

        50.     Obtaining cellular telephone records stored in a cellular telephone may be helpful

to law enforcement in many ways, including the following: identifying suspects, co-conspirators,

or persons involved in or relat_ed to criminal activity; identifying victims; helping to establish a

timeline of events surrounding criminal activity; and documenting contact between co-

conspirators.

        51.     Specialized software and computer hardware can be used to examine the contents

of cellular telephones and smartphones. I know this software is capable of retrieving call history,

text message history, and details, pictures, and videos from numerous types of mobile phones and

smartphones. In some cases, the software is able to retrieve previously stored data even after a

user has deleted it from the phone's memory.

       52.      The search procedure for electronic data contained in the hardware and software of

the cellular telephone described in Attachment A may include the following techniques (the

following is a non-exclusive list, as other search procedures may be used):

                a      Initial triage to determine what, if any, peripheral devices or other electronic

       devices have been connected to the seized device;

                b.    A preliminary scan of image files contained on the device to help identify

       relevant evidence, the known victim, or any potential victims, as well as a scan for

       encryption software;



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                 c.     Forensic imaging of the device that may be partially or fully encrypted, in

         order to preserve unencrypted electronic data that may, if not immediately imaged, become

         encrypted and accordingly unavailable for examination;

                d.      Examination of all of the data contained in the device's hardware, software,

        or memory storage to view the data to determine whether that data falls within the items to

        be seized as set forth herein;

                e.      Searching for and attempting to recover any deleted, hidden, or encrypted

        data to determine whether that data falls within the list of items to be seized as set forth

        herein (any data that is encrypted and unreadable will not be returned unless law

        enforcement personnel have determined that the data is not evidence of the offenses

        specified above);

                f.     Surveying various file directories and the individual files they contain;

                g.     Opening files in order to determine their contents;

                h.     Scanning storage areas;

                1.     Performing key word searches through all electronic storage areas to

        determine whether occurrences of language contained in such storage areas exist that are

        likely to appear in the evidence described in Attachment A; and

               J.      Performing any other data analysis technique that may be necessary to

        locate and retrieve the evidence described in Attachment A.

         INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

        53.    I anticipate executing this warrant pursuant Rule 41 (e)(2)(B), which would permit

a search of The Device identified in Attachment A consistent with the warrant. Upon retrieving

The Device from evidence storage at FBI, government-authorized persons will review that

information to locate the items described in Attachment A. The examination may require

authorities to employ techniques, including but not limited to computer-assisted scans of the entire
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 medium that migh t expose many parts of the device to h uman inspection in order to detenninc

 whether it is evidence described by this warrant.

                                            CONCLUSION

         54.     Based on the forgoing. l request that the Court issue the proposed search warrant.

 ·n1is Court has jurisdiction to issue t he requested warrant because it is "a court of competent

jurisdiction" as defined by 18 U.S.C. § 2711.                 (8 U.S.C. §§ 2703(a), {b)())(A) &

 (c)(l )(A). Specifically, the Court is "a district court o f the United States ... that - has jurisdiction

over the offenses being investigated." 18 U.S.C. § 27 11(3)(A){i).

        55.      The foregoing has been reviewed by Hal Goldsmith. Assistant United States

Attorney, U.S. Attomey"s Office, Eastern District of Missouri.

                                    I   REQUEST FOR SEALING

        56.     I further request that the Court order that all papers in support of this application.

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of the

targets of the investigation. Accordingly, there is good cause to seal these documents because

their premature disclosure may seriously jeopardize that investigation.

I state under the penalty of perjury that th .   . . .. .     - .. .-


                                                 Special Agent
                                                 Federal Bureau of l nves6gation


Sworn to, attested to. or afltrmed before me via reliable electronic means pursuant to Federal




                                                       tcs Magistrate Judge
                                                     District of Missouri


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                                        ATTACHMENT A


                                  ITEMS TO BE SEARCHED

       The following materials, in any format or medium, which constitute evidence,

instrumentaJiti.es, and fruits of the criminal violations of 18 U.S.C. §666, §1341, §1343, §1346,

and §1951 and involve John Collins-Muhammad, and others from                       through the

time of the execution of this warrant that may be deemed instrumentalities, fruits, or evidence of

the aforementioned crimes to include:

       J.      The cellular telephone, that being an Apple iPhone 7, serial number

                    ·th associated phone number                      The Device)

       2.      For 1he Device, all records and information to include:

               a.     Call Logs showing numbers called and received, to include deleted logs;

               b.     Evidence of user attribution showing who used or owned the Device at the

       time the things described in this warrant were created, edited, or deleted, such as logs,

       phonebooks, saved usemames and passwords, documents, and browsing history;

              c.      Internet browsing history, including records of Internet Protocol addresses

       used; records of Internet activity, including firewall logs, caches, browser rustory and

       cookies, "bookmarked" or "favorite" web pages, search terms that the user entered into

       any Internet search engine, and records of user-typed web addresses.

              d.      Photographs, videos, and other forms of media documenting the events

      that are the subject of this warrant.

              e.      Any and all contact lists, address books, in whatever form regarding

      cooonspirator contact information, to include deleted information.

              f.     all bank records, checks, credit card bills, account information, and other

      financial records.

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               g.     Text message records, including the content of messages as well as any

        logs showing text messages sent and received, to include deleted information

               h.     Any and all documents, notes, and records, including e-mail

       correspondence in whatever form, including digital, relating to the matters set forth in the

       attached Affidavit, to include deleted information

               1.     Any and all documents, notes, and records relating to the ownership and

       usage of the cell phone being searched

              J.      Any and all contact lists, address books, in whatever form regarding

       coconspirator contact information, to include deleted information

   3. As used above, the terms "records" and "information" include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.




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